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                                              U.S. Department of Justice
     [Type text]
                                                          United States Attorney
                                                          Southern District of New York
                                                          The Silvio J. Mollo Building
                                                          One Saint Andrew’s Plaza
                                                          New York, New York 10007


                                                          September 30, 2020

     ECF
     The Honorable Richard M. Berman
     United States District Judge
     Southern District of New York
     500 Pearl Street
     New York, New York 10007

            Re:     United States v. James Moore,
                    18 Cr. 759 (RMB)

     Dear Judge Berman:

             The Government writes regarding scheduling, having conferred with defense counsel
     Michael Grudberg, Esq., who in turn has conferred with his client. In light of a scheduling urgency,
     and given counsel’s communications with the Bureau of Prisons and Mr. Moore’s consent to his
     upcoming transfer, the parties jointly request that tomorrow’s conference be adjourned to
     November 5, 2020 at 9:30 a.m., by which point it is expected that Moore will have arrived at his
     new destination in the vicinity of New York City. The parties may request an earlier date if Moore
     arrives earlier than expected.



                                                          Respectfully submitted,

                                                          AUDREY STRAUSS
                                                          Acting United States Attorney for the
                                                          Southern District of New York
Application granted.
                                                      By: _____________________________
                                                          Justin V. Rodriguez
                                                          Assistant United States Attorney
                                                          (212) 637-2591


     cc: Michael Grudberg, Esq. (by ECF)


     9/30/2020
